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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

Nelson Reyes, et al.
                                       Plaintiff,
v.                                                      Case No.: 1:21−cv−04875
                                                        Honorable Edmond E. Chang
Cook County Board of Review
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, March 18, 2022:


       MINUTE entry before the Honorable Edmond E. Chang: The Plaintiffs' extension
motion [23] to respond to the partial motion [15] to dismiss is granted to 03/25/2022. The
defense reply is due on 04/08/2022. Emailed notice (mw, )




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